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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION
ERIC DE FORD, Individually and on          Case No.
Behalf of All Others Similarly Situated,
                         Plaintiff,
      v.
JAMES KOUTOULAS, JEFFREY
CARTER, ERIK NORDEN, ALEX
MASCIOLI, ISLAND LIQUIDITY, LLC,
BRANDON BROWN, BRANDONBILT
MOTORSPORTS, LLC, NATIONAL
ASSOCIATION FOR STOCK CAR
AUTO RACING, LLC,
CANDACE OWENS, DAVID J. HARRIS,
JR., AUSTEN FLETCHER a/k/a
FLECCAS, BRENDON LESLIE,
CORPORATE DEFENDANT DOE, and
JOHN DOES 1-10,
                         Defendants.



    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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      Plaintiff Eric De Ford (“Plaintiff”), individually and on behalf of all others

similarly situated, bring this Class Action Complaint (“Complaint”) against

Corporate Defendant Doe a/k/a LGBcoin d/b/a LGBcoin.io (or, the “Company”),

James Koutoulas, Jeffrey Carter, Erik Norden, Alex Mascioli, Island Liquidity, LLC

(the “Executive Defendants”), Brandon Brown, Brandonbilt Motorsports, LLC,

National Association for Stock Car Auto Racing, LLC (the “Racing Defendants”),

Candace Owens, David J. Harris, Jr., Austen Fletcher a/k/a Fleccas, and Brendon

Leslie (the “Promoter Defendants”) (collectively, the “Defendants”). The following

allegations are based upon personal knowledge as to Plaintiff’s own facts, upon

investigation by Plaintiff’s counsel, and upon information and belief where facts are

solely in possession of Defendants.

                            NATURE OF THE CASE

      1.     Plaintiff brings this action on behalf of all investors who purchased

virtual currency in the form of Let’s Go Brandon meme tokens (“LGB Tokens”)

between November 4, 2021, and March 15, 2021 (the “Relevant Period”), and were

damaged thereby.

      2.     This case arises from a scheme among various individuals in the

cryptocurrency sector to misleadingly promote and sell Initial Coin Offerings

(“ICO”) and digital assets associated with the Company (the LGB Tokens) to

unsuspecting investors. The Company’s executives and insiders had noticed that the

“Let’s Go Brandon” political phrase was going viral nationally and opportunistically


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sought to monetize the attention for their own personal benefit. In particular, the

Company’s insiders, collaborating with several celebrity promotors, (a) made false

or misleading statements to investors about the LGB Tokens through social media

advertisements and other promotional activities, and (b) disguised their control over

the Company and a significant percent of the LGB Tokens that were available for

public trading during the Relevant Period (the “Float”).

      3.     In furtherance of this scheme, Defendants pushed the LGB Tokens as a

means of promoting the American dream, while simultaneously touting the

prospects for the LGB Tokens and the ability for investors to make significant

returns from the LGB Tokens like other so-called “meme coin” digital assets. When

that well ran dry, Defendants pointed to the favorable “tokenomics” that would

financially benefit LGB Token holders. In truth, Defendants cynically marketed the

LGB Tokens to investors so that they could sell off their portion of the Float for a

profit.

      4.     Defendants’ strategy was a success. The misleading promotions and

celebrity endorsements were able to artificially increase the interest in and price of

the LGB Tokens during the Relevant Period, causing investors to purchase these

losing investments at inflated prices.        In addition, the Executive Defendants

disguised their control of the Company to avoid scrutiny and facilitate this scheme.

The Executive Defendants then conspired with the Promoter Defendants to sell their

pre-sale LGB Tokens to investors for a profit.


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      5.      Plaintiff and other investors invested in a common enterprise with the

expectation and understanding that the increased value of the Company and the LGB

Tokens would produce a substantial return on their investment based on Defendants’

efforts. Thus, while the Company and the Executive Defendants’ endorsement of

LGB Tokens as a regulation-free investment to avoid governmental scrutiny, LGB

Tokens were actually unregistered securities promoted and offered by Defendants.

Plaintiff brings this class action on behalf of himself and an objectively identifiable

class consisting of all investors that purchased the Company’s LGB Tokens between

November 4, 2021, and March 15, 2022.

                                      PARTIES

Plaintiff

      6.      Plaintiff Eric De Ford (“De Ford”) is a resident and citizen of Missouri,

living in St. Louis, Missouri. Plaintiff De Ford purchased LGB Tokens via the U.S.-

based cryptocurrency exchanges Coinbase and Uniswap, and suffered investment

losses as a result of Defendants’ conduct, including, but not limited to, their

misleading promotion of a partnership between the Company and Racing

Defendants.



Defendants

      7.      Defendant James Koutoulas (“Koutoulas”) is a resident and citizen of

Florida, living in Miami Beach, Florida. Koutoulas is the co-founder/creator of the


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Company, served as a consultant, developer, and spokesman for the Company, is an

LGB Tokens holder, and exercised control over the Company and directed and/or

authorized, directly or indirectly, the sale and/or solicitations of LGB Tokens to the

public.

      8.     Defendant Jeffrey Carter (“Carter”) is a resident and citizen of Nevada,

living in Las Vegas, Nevada. Carter is the co-founder/creator of the Company,

served as a consultant, developer, and spokesman for the Company, is an LGB

Tokens holder, and exercised control over the Company and directed and/or

authorized, directly or indirectly, the sale and/or solicitations of LGB Tokens to the

public. Carter’s conduct described herein caused injury in Florida. Carter continues

to purposely avail himself of the privilege of conducting business in Florida

marketing his products to and soliciting investments from Florida residents.

      9.     Defendant Erik Norden (“Norden”) is a resident and citizen of Florida,

living in Boca Raton, Florida. Norden is the co-founder/creator of the Company,

served as a consultant, developer, and spokesman for the Company, is an LGB

Tokens holder, and exercised control over the Comp any and directed and/or

authorized, directly or indirectly, the sale and/or solicitations of LGB Tokens to the

public.

      10.    Defendant Alex Mascioli (“Mascioli”) is a resident and citizen of New

York, living in Brooklyn, New York. Mascioli is the co-founder/creator of the

Company, served as a consultant and spokesman for the Company, is an LGB


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Tokens holder, and exercised control over the Company and directed and/or

authorized, directly or indirectly, the sale and/or solicitations of LGB Tokens to the

public.

      11.    Defendant Island Liquidity, LLC (“Island Liquidity”) is a Puerto Rican

corporation with its principal place of business in San Juan, Puerto Rico that served

as a consultant, developer, and/or spokesman for the Company, and exercised

control over the Company and directed and/or authorized, directly or indirectly, the

sale and/or solicitations of LGB Tokens to the public.

      12.    Defendant Brandon Brown (“Brown”) is a resident and citizen of North

Carolina living in Troutman, North Carolina. Brandon Brown is an LGB Tokens

holder and acted as a promotor for the Company and the LGB Tokens.

      13.    Defendant Brandonbilt Motorsports, LLC (“BMS”) is a Virginia

corporation with its principal place of business in Fredericksburg, Virginia that

operates a professional stock car racing team with Brown. BMS acted as a promotor

for the Company and the LGB Tokens.

      14.    Defendant National Association for Stock Car Auto Racing, LLC

(“NASCAR”) is a Florida corporation with its principal place of business in Daytona

Beach, Florida, where it controls, oversees, promotes, and markets the NASCAR

brand and sanctioned stock car racing events and series and throughout the United

States, Canada, Mexico, and Europe.




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      15.    Defendant Candace Owens (“Owens”) is a resident and citizen of

Washington, D.C. Owens acted as a promotor for the Company and the LGB Tokens

and directed promotional activities that were reasonably calculated to reach Florida

residents, as well as throughout the United States. Owens’ conduct described herein

caused injury in Florida. Owens regularly makes paid appearances within Florida.

      16.    Defendant David J. Harris, Jr. (“Harris”) is a resident and citizen of

Texas living in Frisco, Texas. Harris acted as a promotor for the Company and the

LGB Tokens and directed promotional activities that were reasonably calculated to

reach Florida residents, as well as throughout the United States. Harris’ conduct

described herein caused injury in Florida. Harris continues to purposefully avail

himself of the privilege of conducting business in Florida by marketing his products

in Florida and soliciting business from Florida residents through his website.

      17.    Defendant Austen Fletcher a/k/a Flecca (“Fletcher”) is a resident and

citizen of Florida living in St. Petersburg, Florida. Fletcher is an LGB Tokens holder

and acted as a promotor for the Company and the LGB Tokens.

      18.    Defendant Brendon Leslie (“Leslie”) is a resident and citizen of Florida

living in Fort Myers, Florida. Leslie is an LGB Tokens holder and acted as a

promotor for the Company and the LGB Tokens.

      19.    Corporate Defendant Doe is the corporate entity behind LGBCoin d/b/a

LGBCoin.io and the LGB Tokens, who participated in the wrongdoing alleged

herein but whose identity is currently unknown to Plaintiff. Plaintiff will identify


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the appropriate Corporate Defendant through discovery of the Executive

Defendants.

      20.     Defendants John Does 1-10 are persons who participated in the

wrongdoing alleged herein but whose identities are currently unknown to Plaintiff.

Plaintiff will identify the John Doe Defendants through discovery of the Executive

Defendants.

                          JURISDICTION AND VENUE

      21.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1332 because: (1) there are 100 or more (named or unnamed) class

members; (2) there is an aggregate amount in controversy exceeding $5,000,000,

exclusive of interest or costs; and (3) there is minimal diversity because at least one

Plaintiff and Defendant are citizens of different states. This Court has supplemental

jurisdiction over the state law claims pursuant to 28 U.S.C. §1367.

      22.     This Court may exercise jurisdiction over Defendants because they

have continuous and systematic contacts with this District, do substantial business

in this State and within this District, and engage in unlawful practices in this District

as described in this Complaint, so as to subject themselves to personal jurisdiction

in this District, thus rendering the exercise of jurisdiction by this Court proper and

necessary.

      23.     Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)

because certain Defendants live and/or conduct business in this District, therefore, a


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substantial part of the events or omissions giving rise to the claims alleged herein

occurred in this District.

                             FACTUAL ALLEGATIONS

      LGBcoin.io Background

      24.    LGBcoin.io markets its digital asset, the “LGB Coin,” as being a

“meme coin with a message.”1

      25.    In the cryptocurrency sector, a “meme coin” refers to a digital asset that

has no actual use nor does it give owners of the particular meme coin any governance

rights over the associated cryptocurrency project. Instead, a meme coin’s value is

attributed to its ability to go viral on various social and traditional media platforms,

which, in turn, increases interest in, and retail buyers for, the meme coin. Meme

coins are largely dependent on “community sentiment” and “celebrity tweets.” 2 The

result of the increased interest in the digital asset is a corresponding spike in the

meme coin’s price and trading volume.

      26.    With meme coins, “average investors are at the mercy of insiders who

know exactly when they’re going to sell. Once they do . . . the coin’s value




1       Koutoulas, James [@jameskoutoulas]. (Dec. 20, 2021). Unreal birthday experience to
speak         about         @lgb.coin.        .        .       [Video].         Instagram,
https://www.instagram.com/tv/CXuqE0bgXMx/?utm_medium=copy_link
2       John Bogna, What Is a Memecoin and How Do They Work? PCMAG, Dec. 20, 2021,
https://www.pcmag.com/how-to/what-is-a-meme-coin-how-do-they-work.

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effectively drops to zero.”3 Meme coins are generally marketed to naïve investors

with little understanding of the risks associated with highly speculative, unregulated

investments like cryptocurrencies. Moreover, some meme coins are “created as a

snub.”4 For example, the Mongoose Coin was created after Representative Brad

Sherman made the name up during a hearing on digital currency in December 2021.5

       27.    Besides its categorization as a meme coin, the LGB Token is a

speculative digital asset created by a group of entrepreneurs and cryptocurrency

developers, including, but not limited to, the Executive Defendants. In particular,

the LGB Tokens are blockchain-based digital assets known as “ERC-20 tokens” that

are created using the Ethereum blockchain. After an ERC-20 token is created, it can

be traded, spent, or otherwise transacted with. The LGB Tokens were primarily

traded against Ether, the native currency of the Ethereum blockchain network on

Binance, Coinbase, Uniswap, and other decentralized exchanges that allow anyone

to list a token.

       28.    The “message” that the Company used to promote the LGB Token

purported to be one “inspiring positivity and patriotism” and “grounded in a strong


3      Noah Kirsch, Zachary Petrizzo, ‘Let’s Go Brandon’ Crypto Coin Turns Into Total
Dumpster Fire, Y AHOO! D AILY BEAST, Feb 11, 2022, https://www.yahoo.com/now/let-brandon-
crypto-coin-turns-034134435.html.
4       John Bogna, What Is a Memecoin and How Do They Work? PCMAG, Dec. 20, 2021,
https://www.pcmag.com/how-to/what-is-a-meme-coin-how-do-they-work.
5      Matt Binder, Congressman mockingly mentions ‘Mongoose Coin’ at cryptocurrency
hearing so someone launched Mongoose Coin. MASHABLE, Dec. 8, 2021, //mashable.com/article/
mongoose-coin-cryptocurrency-congressional-hearing.


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belief in the American dream and the principles of freedom.”6 According to the

Company, LGB Tokens are not “inherently political” but rather, a way to “digitally

voice their support for America and the American dream.”7

      29.     The LGB Tokens’ name alludes to the political phrase “Let’s Go

Brandon” that arose after Brandon Brown’s NASCAR Xfinity Series win at the

Talladega Speedway on October 2, 2021 (the “Talladega NASCAR Race”). The

phrase stemmed from a misunderstanding that occurred during Brown’s post-win

interview with NBC Sports reporter, Kelli Stavast, but later caught on as a

euphemistic expression of displeasure with President Biden.

      30.     A few weeks later, after seeing Koutoulas post a picture of his

Halloween costume that included a sign saying “Let’s Go Brandon”, Mascioli

reached out to Koutoulas and told him that this “needs to be a coin.” Mascioli then

sought out a cryptocurrency developer “immediately” to help create the LGB Token.

      31.     Sometime between October 28, 2021 and November 4, 2021, all 330

trillion LGB Tokens were minted.8 From there, the developers, Mascioli, and

conservative commentator Jeff Carter decided to “gift” a trillion LGB Tokens to

Koutoulas, dubbing him the “representative” of the Company and the LGB Token.



6     https://lgbcoin.io/.
7     https://lgbcoin.io/about/.
8        See https://www.instagram.com/tv/CXtuLKsDVQL/?utm_medium=copy_link; THE
DAVID J. HARRIS JR. SHOW, Dec. 22, 2021, https://podcasts.apple.com/us/podcast/the-david-j-
harris-jr-show/id1485932 439, 15:59-16:01.

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      32.    On or about November 4, 2021, the Executive Defendants launched the

LGB Tokens for the first time in a bona fide public offering with a transaction

volume of $100 million and an opening price on November 9, 2021, of

$0.000000034, according to data from CoinMarketCap.

      33.    At the time of public launch, and throughout the Relevant Period, the

LGB Tokens were not sold pursuant to a “whitepaper.”                         Whitepapers in

cryptocurrency are documents released by the founders of the project that gives

investors technical information about its concept, and a roadmap for how it plans to

grow and succeed.

      34.    In the absence of a whitepaper, the Company posted “The Story of the

LGB Coin” on the Company website at https://lgbcoin.io/, explaining that the

LGBcoin was launched as a way to “honor” patriotic Americans that promote

American values. The Company then highlighted Koutoulas personally and praised

his work in the MF Global bankruptcy proceeding.

      To honor [Koutoulas] and his righteous fight for the people, he was
      gifted 1 trillion LGB tokens from Jeffery Carter. Why? Because
      [Koutoulas] is the best representation of what we consider to be
      America’s coin. What [Koutoulas] did encapsulates the idea of the
      Let’s Go Brandon movement. Fighting back against the establishment,
      their mismanagement, and the financial fleecing of the American
      people.
      Fighting for your freedom, our freedom. For America.

      Let’s Go Brandon!9


9     See The Story of the LGB Coin, https://lgbcoin.io/ (last visited March 21, 2022).

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      35.   The Executive Defendants launched and promoted the LGB Tokens

with the following logo (the “Company Logo”), which they featured prominently on

the Company’s Website, social media accounts, and promotions:




      36.   To entice these potential investors, the Company repeatedly boasted

about the LGB Tokens’ connections to Brown and NASCAR following Brown’s

victory at the Talladega NASCAR Race, proclaiming in the “Our Sponsorship of

Brandon Brown” section on the Company website that:

      Brandon is a talented and passionate racecar driver, focused on
      perfecting his craft to take his skills to the highest level. . . . This
      country needs more positive and good-natured people like Brandon and
      that’s just one of the many reasons why we support him.
      NASCAR is an expensive sport, and when you’re competing against
      well-funded racing teams, you need every financial advantage.
      Brandon’s personal story is one that we can all be proud of — an
      American story of success and perseverance, building a race team with
      his dad from scratch to compete at some of the highest levels of the
      sport.

      Brandon is truly America’s Driver.
      LGBcoin is proud to support Brandon, providing financial resources to
      help him stay competitive and that empower him to do what he loves:
      drive.
      We don’t expect Brandon to lead a political movement, and neither
      should you. But we want him to have the support to continue to live
      his American dream and to make us all proud.

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      If we do our job right, when you think of us, and you hear, “Let’s Go
      Brandon!” you’ll think and feel, “Let’s Go America!,” just as Brandon
      would have it.10
      37.       To further promote LGB Tokens as “America’s Coin” to investors, the

Company also bragged that it donated more than “$500,000 of LGBcoin tokens” to

various conservative causes, including Turning Point USA.11

      38.       In plain terms, the Company presents the LGB Token to investors as

something positive and generally altruistic to invest in. But the reality is that behind

the tongue-in-cheek rhetoric, the Company’s entire business model relies on using

constant marketing and promotional activities associated with the “Let’s Go

Brandon” phrase, often from “trusted” celebrities and political pundits, to dupe

potential retail investors into believing that the LGB Tokens were going to make

LGB Token holders wealthy while at the same time supposedly supporting

American values.

      The Pump – Executive, Racing, and Promotor Defendants Shill the LGB
      Tokens
      Executive Defendants use Racing Defendants to Promote LGB Tokens

      39.       The Company and the Executive Defendants repeatedly relied upon and

marketed their relationships with both Brandon Brown and NASCAR to promote

LGB Tokens’ launch in November 2021 and the subsequent rise in value in

December 2021.

10    See About Us, https://lgbcoin.io/about/ (last visited Feb. 23, 2022).
11    See id.

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      40.   For example, on November 6, 2021, the Company used its Twitter

account, handle @LGBcoin_io (the “Company Twitter account”), to repeatedly

tweet and retweet to its thousands of followers about Brandon Brown and his

appearance in the NASCAR Xfinity Series Champion Race in Phoenix, Arizona (the

“Phoenix NASCAR Race”), including the following pictures and video:




                                *     *     *




                                *     *     *




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      41.    The Company also posted12 the same Brandon Brown and Phoenix

NASCAR Race photos and videos to thousands of followers on the Company’s

Instagram account @LGBcoin.io.13

      42.    Mascioli also posted a picture of Koutoulas (wearing an LGB coin

promotional shirt) on the racetrack with Brown standing together for the national

anthem at the Phoenix NASCAR Race. 14




12      See November 6, 2021, Company Instagram Post https://www.instagram.com/
p/CV9Xg5Zru2F/ (last visited Feb. 25, 2022); November 6, 2021 Company Instagram Post,
https://www.instagram.com/p/CV9L5cRDEAf/ (last visited Feb. 25, 2022); November 6, 2021
Company Instagram Post, https://www.instagram.com/p/CV9FZkXvb6L/ (last visited Feb. 25,
2022); November 6, 2021 Company Instagram Post, https://www.instagram.com/p/
CV8712SPW8l/ (last visited Feb. 25, 2022).
13      On or about March 4, 2022, the Company changed its Instagram account handle from
@LGBcoin.io to the new @LetsGo handle. See Official $LETSGO, https://www.instagram.com/
letsgo/ (last visited Mar. 9, 2022).
14    https://www.instagram.com/p/CV9VzQODXBl/?utm_medium=copy_link.

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      43.   Likewise, that same day, Koutoulas — whom the Company touted as

its “best representation” of the LGB Tokens — repeatedly tweeted about the LGB

Tokens, Brandon Brown, and NASCAR from his personal Twitter account

@jameskoutoulas (the “Koutoulas Twitter account”), which the Company then

retweeted on the Company Twitter account:




                                *     *     *




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      44.     After the Phoenix Xfinity Race, the Company boasted about the quality

of its LGB Tokens product in a November 11, 2021, tweet and claimed that several

national sponsorships and national partnerships were forthcoming:




      45.     The enlarged, emphasized, and complete Company statement is

as follows:

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      Hi everyone want to give a few project updates – we have about 60
      people working on it already on our 10th day in existence, including
      some serious crypto OGs. We are working on implementing a smart
      contract vesting and locking mechanism to reduce peoples’ concerns
      regarding the genesis wallets. We are also working on decentralizing
      those tokens and you’ll see some movements of the genesis tokens in
      preparing them for the smart wallet locks and a major national
      sponsorship deal. Also, we have several major national media
      partnerships in the works as well as 10 influencers engaged. Again,
      please remember this project is a digital collectible and a digital way to
      express your support for the Let’s Go Brandon movement, so please
      spend only what your budget allows (for some that’s a t shirt, for others
      maybe it’s a plane that says LGB on the tail), but do rest assured
      there’s a ton of experienced, honest, and talented people working
      around the clock to make this the best damn collectible out there with
      goals of showing America how much we love her. 15
[Emphasis added.]

      46.    The Company then continued to lead the public into believing that a

NASCAR sponsorship was imminent through posts it made on the Company’s

Twitter account on November 10, 2021, November 21, 2021, November 23, 2021,

December 2, 2021, and December 3, 2021:




             a.     November 10, 2021:




15    See Company Twitter Account, https://twitter.com/LGBcoin_io/status/1458925209369
595913/photo/1 (last visited Feb. 23, 2022).

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            b.    November 21, 2021:




            c.    November 23, 2021:


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            d.     December 2, 2021, and December 3, 2021:




      47.   The Company posted the same November 23, 2021, and December 2,

2021, posts on the Company’s Instagram account.

      48.   On December 23, 2021, Mascioli posted a picture of Brown’s race car

with only a prime coating of gray paint with the following caption: “Pumped for the



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2022 NASCAR Xfinity season. What will be the new paint scheme for the season

on the @brandonbrown_68 #68 @BMSRaceTeam car?                  You’ll know soon

enough.”16    Mascoili’s caption ended with a rocket ship “@tradethechain

#CryptoRacing” followed by a fire emoji, suggesting to investors that the LGB coin

would be featured as a sponsor on Brown’s race car for the NASCAR season and

that this would cause the LGB Token to get “hot” and “rocket to the moon” (i.e.,

increase exponentially in price).

      49.    On December 29, 2021, BMS tweeted from its company Twitter

account @BMSRaceTeam (the “BMS Twitter account”) that a big announcement

was imminent:




16  https://twitter.com/AlexMascioli/status/1474045240650706946?s=20&t=fTiSYO-0zUnx
UBGDfqWT5w (last visited March 22, 2022).

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      50.    Brandon Brown posted a similar message about “big news” to his 33k+

followers on his Twitter account @brandonbrown_68 (the “Brown Twitter

account”):




      51.    This big announcement was what the Company had been eluding for

weeks — that the Company signed on as Brandon Brown’s full season primary

partner for the 2022 NASCAR Xfinity Series season (the “Sponsorship”). BMS,

Brandon Brown, and the Company announced this Sponsorship across its social

media platforms and through a December 30, 2021, press release issued by BMS.

The BMS Twitter account, Brown Twitter account, and Company Twitter account

each posted a video with Brandon Brown, his BMS racing team, and his Number 68

Chevrolet Camaro (also referred to herein as “Brandon Brown’s racecar”) showing

the red-white-and-blue paint scheme with the Company name and Company Logo:




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      52.    Koutoulas also posted a picture on his personal Twitter account of

Brandon Brown standing next to his racecar with the Company logo prominently

displayed on the hood:




      53.    Koutoulas told USA Today that he and the Company had “put together

proposed car designs a month or so ago before any of this happened because we

thought (Brown) was obviously the best guy to naturally do a national sponsorship

with. So we had it ready to go[.]”17

      54.    In the 24 hours leading up to BMS’s, Brandon Brown’s, and the

Company’s Sponsorship announcement and the 24 hours following, the value of a




17      Josh Peter,NASCAR driver Brandon Brown’s new paint scheme that references vulgar
anti-Biden meme in limbo, USA TODAY, Dec. 31, 2021, https://www.usatoday.com/story/sports/
nascar/2021/12/31/nascar-driver-brandon-browns-new-anti-biden-paint-scheme-limbo/9059843
002/.


                                           24
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single LGB Token increased 64% from $0.00000098 on December 29, 2021, to

$0.000001646 the morning of December 31, 2021.18

      55.    NASCAR was well aware of the Company’s efforts to promote and

associate Brandon Brown and the LGB Tokens with NASCAR.                         NASCAR

executives met with Brown, BMS owner Jerry Brown, Koutoulas, and others on

November 5, 2021, to discuss the possibility of a sponsorship with the Company.

      56.    While NASCAR claimed it rejected the idea at this November 2021

meeting after the fact, NASCAR did absolutely nothing to distance itself from a

prospective sponsorship with Brandon Brown and LGB Tokens and the publicity

connecting NASCAR to the LGB Tokens.

      57.    For example, two days after the Taladega Race and leading up to the

championship weekend at Phoenix Raceway, NASCAR president Steve Phelps

commented on the Let’s Go Brandon chant and its political connotations. Notably,

the issue that most displeased Phelps was that some of the Let’s Go Brandon apparel

being sold featured NASCAR’s trademarked color bars and added that NASCAR

would be pursuing legal action against those who are profiting off of the phrase using

said bars: “We will pursue whoever (is using logos) and get that stuff. That’s not




18      Daniel Villareal, ‘Let’s Go Brandon’ Coin Rallies as NASCAR Grapples With Insult to
President Joe Biden, NEWSWEEK, Dec. 31, 2021, https://www.newsweek.com/lets-go-brandon-
coin-rallies-nascar-grapples-insult-president-joe-biden-1664789.


                                            25
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OK. It’s not OK that you’re using our trademarks illegally.”19 While NASCAR was

willing to pursue legal action against those merchants who did not cut NASCAR in

on the merchandise sales for Let’s Go Brandon apparel, NASCAR has not pursued

any legal action (copyright, trademark infringement, or otherwise) against the

Company, Executive Defendants, Brown, or BMS.

      58.    Moreover, NASCAR approved the Company and TradetheChain.com

to be Brandon Brown’s sponsors for the upcoming Daytona 500 race no later than

December 26, 2021.

      59.    The following email exchange between Mac MacLean at Fast Lane

Media Inc. and NASCAR Racing Operations Senior Manager Dale Howell shows

that the Company’s sponsorship request: specifically referenced the Company name,

LGBCoin.io, at least six times in the request, prominently featured the Company

logo across the proposed graphics on Brandon Brown’s racecar, and included the

Company name on the right side, left side, rear, and top of Brandon Brown’s racecar:




19      Asher Fair, NASCAR is going after some let’s go Brandon’ users, FANSIDED – MINUTE
MEDIA, Nov. 14, 2021, https://beyondtheflag.com/2021/11/14/nascar-going-lets-go-brand on-
users/.

                                           26
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                                     27
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      Koutoulas’ Individual Efforts and Executive Defendants’ Use of Promotor
      Defendants to Promote LGB Tokens
      60.   In addition to promoting the Company’s relationship to Brandon

Brown, BMS, and NASCAR, Koutoulas used his Instagram and Twitter accounts to

promote LGB Tokens and/or post pictures of himself wearing the LGB Tokens logo

alongside prominent Republican public figures such as former President Donald J.

Trump, Donald J. Trump, Jr., Peter Thiel, Texas Governor Greg Abbott, Arizona

Senate candidate Blake Masters, and City of Miami Mayor Francis Suarez.




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       61.    Throughout December 2021, Koutoulas also promoted LGB Tokens at

several prominent cryptocurrency and conservative events, including at Puerto Rico

Blockchain Week, Turning Point USA’s AmericaFest in Phoenix, Arizona, a dinner

party at Mar-a-Lago, and former President Donald J. Trump’s Christmas party in

Naples, Florida.

       62.    Koutoulas, along with Norden, also promoted LGB Tokens on several

conservative podcasts, including UnBossed Reporting with Brendon Leslie at

Florida’s Conservative Voice on or about December 29, 2021, 20 and the Patriot Talk

Show with Brendon Leslie at Florida’s Conservative Voice on or about December

28, 2021.21 Norden boasted during the UnBossed Reporting podcast that LGB

Tokens “went from $0 to $330 million.”

       63.    Koutoulas also promoted LGB Tokens through interviews on The

David J. Harris Jr. Show podcast, which was recorded on or about December 13,

2021, and aired on or about December 22, 2021,22 and Roundtable, which aired on

or about December 14, 2021. 23 Koutoulas boasted during his Roundtable interview


20     Brendon Leslie, We’re hanging out the Let’s Go Brandon Coin guys discussing
conservative news in Florida. UNBOSSED REPORTING, Dec. 29, 2021, https://twitter.com/i/
broadcasts/1eaKbNyjrOjKX.
21      Brendon Leslie, We’re Live at Seed to Table with our guests the major HODLers of Let’s
Go Brandon Coin! PATRIOT TALK SHOW, Dec. 28, 2021, https://twitter.com/BrendonLeslie/
status/1475980992749846529.
22     See The David J. Harris Jr. Show, DJHJ MEDIA I NC., Dec. 22, 2021, https://podcasts.
apple.com/us/podcast/the-david-j-harris-jr-show/id1485932439.
23    Roundtable Crypto, Let’s Go Brandon Meme Coin Gains Traction In Conservative Circles,
ROUNDTABLE CRYPTO, Dec. 14, 2021, https://roundtablecrypto.io/political/lets-go-brandon-new-
coin.

                                             29
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that “the [LGB Token’s] five weeks old, we’ve been trading around $340 million in

market cap already without even being on a centralized exchange, [with] only 5,000

holders.”24 Koutoulas similarly proclaimed on Promoter Defendant David J. Harris

Jr.’s podcast that “the coin is already about 350 million in market cap.” 25

      64.       In addition to his repeated posts and statements encouraging the public

as a means of supporting the conservative movement, Koutoulas, a public figure

himself, along with the other Executive Defendants, actively recruited and retained

the Promoter Defendants to serve as the promotors following the launch of the LGB

Tokens in November 2021.

      65.       Upon information and belief, the Promoter Defendants received LGB

Tokens and/or other forms of consideration as part or all of their compensation for

promoting the Company.

      66.       The Promotor Defendants are sophisticated public figures with

familiarity and experience with endorsement contracts.

      67.       On November 24, 2021, conservative personality Candace Owens

posted the following solicitation for the Company on her Twitter account @Real

CandaceO, which has over three million followers:




24    See id.
25     See The David J. Harris Jr. Show, DJHJ MEDIA I NC., Dec. 22, 2021, https://podcasts.
apple.com/us/podcast/the-david-j-harris-jr-show/id1485932439, 15:51.

                                            30
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       68.    Owens’ promotional post generated a lot of media attention, and

Newsweek noted that the value of LGB Tokens rose more than 37% in value in the

days leading up to up to her tweet. 26

       69.    Even more importantly, the trading volume of LGB Tokens spiked over

425% the day after Owens’ announcement that she was “ALL IN” on LGB Tokens,

according to historical price data from Coinmarketcap.com. 27

       70.    On or about December 6, 2021, at a Republican political event at Mar-

a-Lago, Koutoulas promoted LGB Tokens by wearing an LGB button throughout




26

       https://twitter.com/RealCandaceO/status/1463702086684749826?s=20&t=7goouVgxJsn
BbE95q8jYxQ; Ewan Palmer, Lets Go Brandon’ Crypto Coins Are Being Pushed by Conservative
Figures, NEWSWEEK, Nov. 25, 2021, https://www.newsweek.com/lets-go-brandon-crypto-coin-
launch-conservatives-1653334.
27     https://coinmarketcap.com/currencies/lets-go-brandon/historical-data/ (last visited March
22, 2022).


                                              31
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the event and appearing alongside political figures like Congressman Madison

Cawthorn.28 The following picture from the event demonstrates this:




       71.    The Company also used Cawthorn to promote the LGB Tokens at the

Mar-a-Lago event and investors following the event through social media. In

particular, the Company promoted Cawthorn alongside the “@lgbcoin.io babes”:29




28     Koutoulas, James [@jameskoutoulas]. (Dec. 4, 2021). About last night. . . [Photograph].
Instagram. https://www.instagram.com/p/CXFqJI6LQOf/?utm_medium=copy_link.
29      An image of this promotion was captured and posted on Twitter, see https://twitter.com/
patriottakes/status/1467924649501765639?s=20&t=M4G9G6ezbWKdZ79SYUm2EA.


                                             32
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                                                            5
      72.    Similarly, the Company posted a picture of Cawthorn having an “LGB

Meeting” with other attendees at the Mar-a-Lago event to its social media platforms

in an effort to mislead investors into thinking that the LGB Token was being backed

by powerful political interests:30




30   https://twitter.com/patriottakes/status/1467937685130170375?s=20&t=M4G9G6ezbWK
dZ79SYUm2EA (last visited March 22, 2022).


                                        33
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      73.   As one commentator following the Mar-a-Lago event noted on

December 6, 2021, during this event, “people . . . were posting online that LGB coin

was doing well and others were falling:”31

      74.   Koutoulas, on behalf of the “LGB Foundation” also publicly gifted

conversative activist Charlie Kirk $100,000 worth of LGB Tokens as a publicity

stunt for the Company during the Mar-a-Lago event.32




31   https://twitter.com/patriottakes/status/1467943522074513417?s=20&t=M4G9G6ezbWK
dZ79SYUm2EA.
32   https://twitter.com/patriottakes/status/1467945291567575041?s=20&t=M4G9G6ezbWK
dZ79SYUm2EA.


                                        34
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       75.    After the Mar-a-Lago event, Koutoulas gave an interview with

conservative public speaker and author, David J. Harris, Jr. on December 14, 2021.

During the podcast interview with Koutoulas, Harris made the following statement:

       And if it does, uh, take off like I think it’s going to, then maybe it will
       grow and make a nice little bonus for you. But, uh, I know you have
       some other things in the works that we cannot get into. Some very
       exciting things that should make national headlines, without a doubt,
       uh, and some very interesting people that are also aligning with this
       that I know my audience will absolutely love. But. . . uh . . .I know we
       can’t get into that yet, so [Koutoulas], I’d love to have you back on in
       the very near future. And again, friends, if you’re going to get some
       coin, I’d say get some as soon as you can ’cause once some of this stuff
       breaks, it’s just, it’s gonna increase, it’s what they do. . . .
       Friends, get over to, uh, L--LGB… LGBcoin.io, LGBcoin.io. Read the
       story. Read more about [Koutoulas], what he’s done, uh, you can verify
       everything that I’ve said that we’ve shared. Do your own research. But
       I’m telling you, I’m only bringing you the stuff that I believe in and that
       I think will be a powerful blessing for those people who are watching
       or listening. So share this with as many people as possible . . . .
       I have some of this coin. I know Candace Owens has promoted this
       coin. There’s going to be some other very big names, very soon.
       They’re going to be talking about it and uh, this is your chance to get
       in early. . . . Please share this with as many people as you can — 10,
       25 friends, 50 friends. Share it, let’s get the word out, we need to —
       we need to bless [Koutoulas].33
[Emphasis added.]

       76.    On December 19, 2021, the Company’s Twitter account posted a link

to a New York Times article “Brandon Just Wants to Drive His Racecar,” which came

out on the same day. Mascoili posted this article as well the following day.


33     See The David J. Harris Jr. Show, DJHJ MEDIA I NC., Dec. 22, 2021, https://podcasts.apple.
com/us/podcast/the-david-j-harris-jr-show/id1485932439, 29:58-30:39, 31:53-32:58.


                                              35
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      77.    On December 20, 2021, Newsweek magazine published an article

written by Brown entitled “My name is Brandon,” wherein Brown indicated that he

was not a political person despite being thrust into the political spotlight due to the

“Let’s Go Brandon” chant.34 Brown stated that he had “no interest in leading some

political fight,” but rather, would focus on “problems we face together as

Americans.” Brown elaborated on this point:

      I understand that millions of people are struggling right now and are
      frustrated. Struggling to get by and struggling to build a solid life for
      themselves and their families, and wondering why their government
      only seems to make it worse.
                                    *      *      *
      Listen, I buy more gas than most. I don’t like that $4 per gallon has
      become the norm. I know the cost of everything is rising and I know
      first-hand that making ends meet can be a struggle for middle-class
      folks like me.
                                   *      *      *
      I will use what free time I have to highlight the struggle we all feel and
      share, as Americans.
      78.    Both the Company’s Twitter account, Mascioli, and Koutoulas reposted

the Newsweek article that same day as well. 35

      79.    Also on December 20, 2021, Koutoulas gave a speech at an event

sponsored by non-profit organization Turning Point USA, called AmericaFest 2021




34      Brandon Brown, My Name Is Brandon | Opinion, NEWSWEEK.COM , Dec. 20, 2021,
https://www.newsweek.com/my-name-brandon-opinion-1660525.
35      https://twitter.com/jameskoutoulas/status/1472941662229852163?s=20&t=srLDhETM
gLmDMxICvQ3zNA; https://twitter.com/AlexMascioli.


                                          36
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(“Amfest 2021”).36 Amfest 2021 featured many notable conservative politicians and

speakers, and Koutoulas used his proximity to these public figures to make it seem

like these figures tacitly approved and/or endorsed the LGB Tokens in particular (as

opposed to the “Let’s Go Brandon” phrase or associated political movement).

      80.   As Harris’ promotional efforts were taking place between December

12, 2021 and December 20, 2021, the trading volume correspondingly rose

approximately 534%.

      81.   Harris continued to promote LGB Tokens and a big forthcoming

announcement with the following Instagram post on or about December 22, 2021,

which both the Company and Congressman Madison Cawthorn shared from their

social media accounts:




36    https://www.instagram.com/tv/CXtuLKsDVQL/?utm_medium=copy_link.

                                        37
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       82.    On December 23, 2021, Harris posted the following endorsement

video37 for the Company and LGB Tokens on his Instagram account @davidjharrisjr,

which has over 1.5 million followers:




       83.    In his December 23rd Instagram post, Harris, wearing a Let’s Go

Brandon t-shirt, plainly endorses the coin to his followers and proclaims that the

LGB Token is “going to be huge!!!”

       84.    Trading volume for LGB Tokens rose over 31% the day of Harris’

promotions, going from $2,653,477 on December 22, 2021 to $3,478,490 on

December 23, 2021. 38




37      The video is footage from Harris’ podcast interview with Koutoulas, which was recorded
on or about December 13, 2021, and aired on or about December 22, 2021.
38      https://coinmarketcap.com/currencies/lets-go-brandon/historical-data/.


                                             38
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         85.     Harris continues to support the Company and LGB Tokens by posting

numerous photos and videos on his Instagram account wearing Let’s Go Brandon

apparel and even sells Let’s Go Brandon apparel on the David J. Harris Jr. official

online store.39

         86.     Similarly, Austen Fletcher a/k/a Fleccas, host of the conservative

podcast show “Fleccas Talks,” is an LGB Tokens holder and acted as an avid

promotor for the Company and the LGB Tokens on numerous social media

platforms, including but not limited to, his podcast show Fleccas Talks; his YouTube

channel Fleccas Talks; his Twitter account @fleccas; and his Instagram account

@fleccas.

         87.     Fletcher’s combined social media following from YouTube, Twitter,

and Instagram amounts to over 1.2 million. 40

         88.     For example, on December 28, 2021 and December 30, 2021, Fletcher

reposted the following solicitations (at least one of which originated from Brendon

Leslie) for the Company and LGB Tokens on his Twitter account @fleccas:

                 a.      December 28, 2021:




39       See David J. Harris Jr. official online store, https://davidharrisjr.store (last visited Mar. 4,
2022).
40     See Fletcher’s Youtube Channel, https://www.youtube.com/c/FleccasTalks (last visited
Mar. 4, 2022); Fletcher’s Twitter account, https://twitter.com/fleccas (last visited Mar. 4, 2022);
and Fletcher’s Instagram Account, https://www.instagram.com/fleccas/ (last visited Mar. 4, 2022).

                                                   39
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            b.    December 30, 2021:




                                       40
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                                    *        *       *




                                *       *        *




                                *       *        *



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      89.    On December 28, 2021, and December 29, 2021, Founder and Editor

in Chief of Florida’s Conservative Voice, Brendon Leslie, promoted the Company

in two video podcasts he posted to his 60,000+ followers on personal Twitter account

@brendonleslie and 3,000+ followers the Florida Conservative Twitter account

under @FLVoiceNews.

      90.    During the December 28, 2021, Patriot Talk Show with Brendon Leslie,

which upon information and belief, was recorded at the Seed to Table market in

Naples, Florida, an audience member asked Leslie how to purchase LGB Tokens.

Leslie coyly responded that, “It’s . . . a . . . very easy. And I recommend doing it for

no apparent reason of knowledge that I know, I recommend buying it tonight. Just

saying. You go to LGBcoin.io.”41 Koutoulas and Norden then laughed at Leslie’s

response because they understood the value of the LGB Tokens would rise

41    Patriot Talk Show, https://twitter.com/BrendonLeslie/status/1475980992749846529,
Minute 24:50-25:10. (last visited Mar. 1, 2022).

                                          42
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significantly once Brandon Brown and BMS announced their NASCAR

Sponsorship with the Company. [Emphasis added.]

      91.    Leslie continued to encourage his viewers to purchase LGB Tokens the

following day during his UnBossed Reporting video podcast recording in Florida,

stating:

      LGBcoin.io. Head over to there. It explains what you got to do to be
      able to get this LGB coin. I’ve been stressing it for the last 48 hours
      . . . 24 hours . . . buy now. That’s all I can say. Buy now. Buy now.
      Because —
Leslie is then cut off by Norden, who looks at Koutoulas and continues to insinuate

the Sponsorship by noting, “And…and the website itself is . . . uh . . . going to go

over a little bit of a transformation in the next, uh . . . .”42 [Emphasis added.]

      92.    On December 30, 2021, the Company, along with Brandon Brown and

BMS, announced the NASCAR Sponsorship, which Leslie retweeted on his personal

Twitter account and the Florida Conservative Twitter account:




42    Unbossed Reporting with Brendon Leslie, https://twitter.com/BrendonLeslie/status/
1476238865245491204 Minute 19:10-19:29 (last visited Mar. 2, 2022).


                                          43
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      93.    As noted in the New York Post article, NASCAR driver Brandon Brown

does complete 180 on ‘Let’s Go Brandon’, “The NASCAR driver had done a round

of media interviews purporting to distance himself from the political chant, only to

turn around and unveil a vehicle prominently featuring an acronym for the phrase —

“LGB” — to promote a new cryptocurrency.43

      The Dump – LGB Tokens price plummets

      94.    Following the LGB Tokens’ launch, Defendants’ promotional activities

in November and December 2021, and NASCAR’s December 26, 2021 approval of

the Sponsorship among Brandon Brown, BMS, and the Company, the trading

volume and price of the Company surged. On January 1, 2022, LGB Tokens reached

the maximum price of $0.000001734, which represents 510% increase from its

initial price of $0.00000034. CoinMarketCap reflects that there were 5,281 unique

43     Ryan Glasspiegel, NASCAR driver Brandon Brown does complete 180 on ‘Let’s Go
Brandon’, N EW YORK POST, NYP HOLDINGS, I NC., Dec. 31, 2021, https://nypost.com/2021/
12/31/brandon-brown-does-complete-180-on-lets-go-brandon/.


                                         44
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account holders of LGB Tokens the day before the Sponsorship announcement,

which skyrocketed to 10,257 unique account holders of LGB Tokens by January 4,

2022. At its height, LGB Tokens reached a market value of more than $570 million44

with a liquidity pool of $6.5 million. 45

      95.    However, this meteoric rise did not last long, and the Company began

to deflate immediately after NASCAR distanced itself from the prior approval of the

Sponsorship, claiming NASCAR Racing Operations Senior Manager Dale Howell

was not authorized to sign off on the relationship. 46

      96.    Between December 30, 2021, when NASCAR began to disclaim the

Sponsorship in the press and January 4, 2022, when NASCAR executives changed

its mind about the Sponsorship, the price of LGB Tokens fell 63% from a high of

$.000001612 with a trading volume of $6.7 million to a low of $.0000005992 with

a trading volume of $2.6 million.

      97.    Yet, the Executive Defendants, Brandon Brown, and BMS continued

to promote LGB Tokens to prop up the price of the LGB Tokens while NASCAR

backed out of its Sponsorship approval.


44     Noah Kirsch, Squabbling ‘Let’s Go Brandon’ Crypto Team Tries to Relaunch, THE DAILY
BEAST, Feb. 23, 2022, https://www.thedailybeast.com/lets-go-brandon-crypto-team-tries-to-
relaunch-after-james-koutoulas-threatened-lawsuit.
45    Noah Kirsch and Zachary Petrizzo, ‘Let’s Go Brandon’ Crypto Coin Turns Into Total
Dumpster Fire, THE DAILY BEAST, Feb. 11, 2022, https://www.thedailybeast.com/lets-go-
brandon-crypto-coin-turns-into-total-dumpster-fire.
46     See Liz Clark, NASCAR Rejects Sponsorship Deal Based on ‘Let’s Go Brandon’ Chant,
THE WASHINGTON POST, Jan. 4, 2022, https://www.washingtonpost.com/sports/2022/01/04/
lgbcoin-lets-go-brandon-nascar-rejected/.

                                            45
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      98.    On January 1, 2022, BMS tweeted the following from the BMS Twitter

account prominently showing the Company name on Brandon Brown’s racecar,

which Koutoulas then retweeted from his personal Twitter account:




      99.    On January 7, 2022, the Company released a press release announcing

that it had secured an “exclusive, expanded sponsorship agreement” with Brandon

Brown “as part of a two-year, eight-figure, comprehensive crypto/digital exclusive

endorsement partnership.”47 An excerpt of this press release included a statement

from Brandon Brown supporting the Company and mentioned how he “is now a

holder and endorser of the most talked about crypto product in America.”




47     See Company Instagram, https://www.instagram.com/p/CYeNj4TLneC/ (last visited Mar.
1, 2022).


                                           46
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         100. The Company continued to tout its connection to NASCAR, stating in

the “News and Publications” section of its Company website that “the sponsorship,

if approved by NASCAR, is for two years and includes a personal endorsement deal.

The deal is said to include ‘personal participation in publicity events, videos, crypto

conferences, racing-related events and more, though won’t include car decals.’” 48

Likewise, the Company is continuing to promote itself and LGB Tokens as the

“Official Partner of NASCAR Xfinity Series Driver Brandon Brown and Car No.

68.”49

         101. NASCAR again did not take any meaningful steps to distance itself

from this renewed sponsorship agreement among Brandon Brown, BMS, and the




48      See News and Publications: Latest News, https://lgbcoin.io/news-and-publications/ (last
visited Mar. 1, 2022).
49       See Let’s Go Brandon, https://lgbcoin.io (last visited Mar. 1, 2022).


                                                 47
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Company, even though this new arrangement still included Brandon Brown’s and

the Company’s participation at NASCAR racing-related events.

      102. In fact, NASCAR has been complicit in the Company’s continued

promotion of LGB Tokens at NASCAR’S racing events, including at the Alsco

Uniforms 300 Xfinity Race in Las Vegas, Nevada. 50

      103. Owens also continued to associate herself with LGB Tokens during its

decline, as Koutoulas’ January 6, 2022, Instagram post shows:




      104. On January 27, 2022, in an attempt to keep investors from selling any

more LGB Tokens, the Company’s Twitter account posted the following image with

a caption that read “Sometimes you just need to have faith and HODL. Let’s Go

LGBcoin.io!”:51


50       See Company Instagram Account @letsgo, https://www.instagram.com/p/CauokR5uiJs/
(last visited Mar. 9, 2022).
51    https://twitter.com/LGBcoin_io/status/1486804700657864712?s=20&t=pq5exm4-UHF
wkqqiwxZ7qg.

                                          48
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       105. But the LGB Token price continued its precipitous decline to a price of

$.00000002228 with a trading value of $0 by the evening of January 28, 2022 —

significantly less than its initial capital.

       106. The Promoter Defendants’ improper promotional activities generated

the trading volume needed for all the Defendants to offload their LGB Tokens onto

unsuspecting investors, especially when they were intimately aware that NASCAR

was about to back out of its previous Sponsorship approval. While Plaintiff and

Class members were buying the inappropriately promoted LGB Tokens, Defendants

were able to, and did, sell their LGB Tokens during the Relevant Period for

substantial profits. As one cryptocurrency expert noted with meme coins like LGB

Tokens, “average investors are at the mercy of insiders ‘who know exactly when




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they’re going to sell,” and upon such sale, “the coin’s value effectively ‘drops to

zero.’”52

        107. The LGB Token price still has not recovered and trading volume

remains down significantly. The Daily Beast bluntly noted, LGB Tokens amounted

to a “dumpster fire” and were “effectively worthless.”53

        The re-Pump and Dump – the Relaunch of the LGB Tokens

        108. Not satisfied with successfully completing one pump and dump

scheme, the Company, Executive Defendants, Brandon Brown, and BMS did it

again. On January 28, 2022, the Executive Defendants took a snapshot of the LGB

Tokens and then drained the remaining liquidity as part of an elaborate scheme to

remint and relaunch the token into a second meme coin, which caused both the price

and transaction volume of the LGB Tokens to plummet to near $0 by January 30,

2022.

        109. The Company posted a video on the Company's Twitter and Instagram

accounts on January 28, 2022, from the “Brandon Brown and #68 racing and

LGBCoin Team,” promoting this “Re-Mint, Re-launch and Airdrop” of the LGB

Tokens as an intent to “improve” what it described as a “down-market moment.”




52      See n.49, supra.
53      See id.

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      110. Upon information and belief, this decision to relaunch the LGB Tokens

was part of a February 2022 agreement reached in Miami, Florida, that was “forged

in part by the media executive James Heckman, representatives of the NASCAR

racer Brandon Brown, and LGB’s former de facto leader . . . James Koutoulas.”54

      111. Koutoulas discussed this agreement during a February 2022 interview

with The Daily Beast, and “Koutoulus alleged . . . that major coin holders had fueled

the decline by rapidly selling large volumes of [LGB Tokens].”55

      112. Between February 22, 2022, and February 24, 2022, t he Executive

Defendants then “relaunched” the meme coin into a second version called the “Lets

Go Tokens.” The Executive Defendants created a second Company website at

https://www.letsgobrandon.com/ (hereafter “Second Company Website”), which —




54    See n.46, supra.
55    See id.

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like the earlier Company Website — promotes the Lets Go Tokens as the “Official

Partner of NASCAR Xfinity Series Driver Brandon Brown and Car No. 68.”

      113. The Company also released a new logo for this Lets Go Token

substantially resembling the former Company Logo:




      114. On February 24, 2022, the Company issued a Press Release announcing

a “new leadership team” and the creation of a “LetsGoBrandon Foundation” that:

      has committed already several million dollars in cash, to secure assets,
      fill the liquidity pool, and support marketing. The Foundation has also
      confirmed and funded the previously announced sponsorship for $5
      Million per year, securing a long-term relationship with Brandon
      Brown and his racing team, in addition to investing in a world-class
      media, licensing, marketing and crypto-architectural team to ensure
      stability and longevity of the coin. 56
      115. This Press Release also outlined some of the Company’s concepts and

expectations for these “new” Lets Go Tokens, including the following excerpts:

      Crypto and Digital Media Leadership Team Additions
      Significant HODLers invested in world-class leadership to recreate,
      launch and help manage the improved official coin, correct tokenomic
      deficiencies and ensure reputational excellence. The team is filled with
      crypto pioneers, senior media executives and licensing experts. . . .
      New Tokenomics
      The initial coin project was architected in such a way that large pre-sale
      buyer [sic] were able to damage the value at their will, and so while
      the coin was one of the most-covered crypto projects in history, some

56    See Press Release, https://www.letsgobrandon.com/press (last visited Mar. 1, 2022).

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      “Whales” were selling in size on every positive announcement. This
      will no longer be technically possible. The new team has dramatically
      improved the tokenomics, with smart contracts restricting large holders
      and added marketing allocations for the project’s growth. Previous
      holders of up to 200B coins as of 2/22/2022 will be rewarded for
      holding for 6 months with a 10% bonus and the liquidity pool has been
      refilled and supplemented. The team began airdrops a few weeks ago
      for smaller wallets, and began dropping the remaining coins on
      2/24/2022. Whales will be allocated their coins directly, to ensure
      authenticity and accuracy. . . .
      LetsGoBrandon’s Future, Plans and Commitment
      LetsGoBrandon.com is a forever project. All significant holders of the
      coin have agreed to restrict their selling for at least two years, because
      the vision of this project is to prioritize the movement for protecting
      free spreech [sic] and fighting de-platforming.57
[Emphasis added.]
      116. The Executive Defendants also created a second Company Twitter

 account under the @officialletsgo handle, 58 which uses the Brandon Brown racecar

 graphics that NASCAR previously rejected as its wallpaper:




57    Id.
58    See Official $LETSGO, https://twitter.com/officialletsgo (last visited Mar. 1, 2022).


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      117. In addition, on or about March 4, 2022, the Executive Defendants also

created a second Company Instagram account under the @letsgo handle, 59 which

uses the new logo for the Lets Go Token.

      118. According to data from CoinMarketCap, the Lets Go Tokens had an

opening price of $0.00000009744 on March 1, 2022 — 65% lower than the opening

price of its previous iteration of the LGB Tokens.

      119. Despite this, Koutoulas and other Promoter Defendants, like Harris and

Cawthorn, are still promoting the Lets Go Tokens, including in the following video

from the Conservate Political Action Conference in Orlando that Koutoulas posted

to his Instagram account on February 27, 2022 60:




      Harris:       I got Let’s Go Brandon coin. Do you got Let’s Go
                    Brandon coin?
      Cawthorn: I got Let’s Go Brandon coin.
      Harris:       You got some Let’s Go Brandon coin?


59    See Official $LETSGO, https://www.instagram.com/letsgo/ (last visited Mar. 9, 2022).
60     See Feb. 27, 2022, Koutoulas Instagram Post, https://www.instagram.com/p/CafZYEK
gnK3/ (last visited Mar. 3, 2022).

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       Cawthorn: It’s working out very well. Very well.
       Harris:       So do you have Let’s Go Brandon coin? <laughter>
       Cawthorn: That’s the question — That’s the question we all want to
                 know.
       Harris:       Get you some. Get you some. <laughter>
       Cawthorn: Yes sir!
       120. Similarly, on March 7, 2022, Harris conducted an interview with former

President Donald J. Trump on his podcast, The David J. Harris Jr. Show.61 In an

effort to promote the Lets Go Tokens to all of the listeners tuning in for Trump and

to lead retail investors into believing that Trump was personally associated with the

LGB Tokens, Harris announced that Koutoulas would be gifting Trump 500 billion

Lets Go Tokens. Trump responded to this promotional gifting by saying, “that

sounds good” and that “those groups are the right groups to support” because

“they’re great patriots, great people.” The video of the interview was then posted

on Twitter by both Harris 62 and Koutoulas63 on March 9, 2022:




61       The David J. Harris Show, https://www.audacy.com/podcasts/the-david-j-harris-jr-show-
39252/exclusive-my-second-interview-with-president-trump-1296066681, Minute 19:45-22:20.
(last visited Mar. 10, 2022).
62    See Mar. 9, 2022, Harris Instagram Post, Post, https://twitter.com/DavidJHarrisJr/status/
1501709784793374720?cxt=HHwWgICz5fjFktcpAAAA (last visited Mar. 9, 2022).
63      See Mar. 9, 2022, Koutoulas Instagram Post, Post, https://twitter.com/jameskoutoulas/
status/1501745962548703234 (last visited Mar. 9, 2022).


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      121. As United Kingdom’s Financial Conduct Authority director Charles

Randall noted in a recent speech, “social media influencers [like the Promoter

Defendants] are routinely paid by scammers to help them pump and dump new

tokens on the back of pure speculation.”64

      122. Randall further observed that the hype around speculative digital assets

like the LGB and Lets Go Tokens “generates a powerful fear of missing out from

some consumers who may have little understanding of their risks. There is no

shortage of stories of people who have lost savings by being lured into the crypto

bubble with delusions of quick riches, sometimes after listening to their favourite

influencers, ready to betray their fans’ trust for a fee.”65

      123. United States President Joseph Biden similarly observed in a

cryptocurrency executive order executed on March 9, 2022, that

64     Charles Randell, Speech to the Cambridge International Symposium on Economic Crime
(June 9, 2021), https://www.fca.org.uk/news/speeches/risks-token-regulation.
65    See id.


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       The increased use of digital assets and digital asset exchanges and
       trading platforms may increase the risks of crimes such as fraud and
       theft, other statutory and regulatory violations, privacy and data
       breaches, unfair and abusive acts or practices, and other cyber incidents
       faced by consumers, investors, and businesses. The rise in use of digital
       assets, and differences across communities, may also present disparate
       financial risk to less informed market participants or exacerbate
       inequities.66
       124. Former U.S. Securities and Exchange Commission Chairman Jay

Clayton similarly warned prospective investors about the dangers of cryptocurrency

and cautioned:

       market participants against promoting or touting the offer and sale of
       coins without first determining whether the securities laws apply to
       those actions. Selling securities generally requires a license, and
       experience shows that excessive touting in thinly traded and volatile
       markets can be an indicator of “scalping,” “pump and dump” and
       other manipulations and frauds.67
[Emphasis added.]
       125. This is precisely what occurred with the Executive Defendants’ stated

marketing strategy to use celebrities like the Racing Defendants and Promoter

Defendants to “instill trust” from investors in the Company in exchange for fees

and/or LGB Tokens or Lets Go Tokens – that the Promotor Defendants could (and

did) sell for profits.



66     See Presidential Actions, Executive Order on Ensuring Responsible Development of
Digital Assets, Mar. 9, 2022, https://www.whitehouse.gov/briefing-room/presidential-actions/
2022/03/09 /executive-order-on-ensuring-responsible-development-of-digital-assets/.
67    See U.S. Securities and Exchange Commission, Statement on Cryptocurrencies and Initial
Coin Offerings, Dec. 11, 2017, https://www.sec.gov/news/public-statement/statement-clayton-
2017-12-11.

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      126. The Company is not only changing direction with the new Lets Go

Tokens, as evident by the new company logo, website, and social media accounts,

but it is also encouraging the “burning” of the Lets Go Tokens based on the outcome

of NASCAR races and Ultimate Fighting Championship (“UFC”) fights.

      127. On March 5, 2022, the Company posted the following solicitation on

its new Instagram account @letsgo, where it announced its new Coin Burn Program:




The March 5, 2022, Instagram post states:

      If Brandon Brown places in the Top 10 anytime this season, we will
      burn billions in $LETSGO coin . . . or One Trillion when he takes 1st
      place! This reduces the overall supply, bringing the value to each
      $LETSGO hodler!68
      128. The Company tweeted substantial similar post on its Company

Twitter account, stating that “If Brandon Brown places in the Top 10 anytime



68    See March 5, 2022, Company Instagram Post @Letsgo, https://www.instagram.com/p/
CauokR5uiJs/ (last visited Mar. 9, 2022).


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this season, we will burn billions in $LETSGO coin . . . or 1T when he takes 1st

place! @brandonbrown_68.”69

      129. The Company posted another solicitation on March 5, 2022,

concerning the UFC that evening between mixed martial artists Jorge Masvidal

and Colby Covington:




The March 5, 2022, Instagram post states:

      @davidjharrisjr and @gamebredfighter showing some epic love for the
      LETSGO coin! We are so proud to be a part of this amazing movement
      and moment in time. LETSGO! Along with the 250 Billion coins being
      sent to @gamebredfighter – We will burn an additional 200 Billion
      when Jorge wins ⇔ #letsgojorge.
      130. Investopedia defines cryptocurrency burning as “the process in which

users can remove tokens (also called coins) from circulation, which reduces the

number of coins in use. The tokens are sent to a wallet address that cannot be used

for transactions other than receiving the coins. The wallet is outside the network,



69    See March 5, 2022, Company Twitter Post @Letsgo, https://twitter.com/LetsGo/status/
1500172015935782917 (last visited Mar. 9, 2022).

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and the tokens can no longer be used.”70 Basically, “the act of burning effectively

removes tokens from the available supply, which decreases the number in

circulation.”71

       131. As Lisa Cheng of the Vanbex Group, a blockchain services company

explains, “[p]rojects burn their own tokens to remove them from the market to

demonstrate consumption – as a result this creates further scarcity, thereby affecting

the market cap, and arguably is a form of price manipulation.”72

                         CLASS ACTION ALLEGATIONS

       132. Plaintiff brings this action, individually, and on behalf of a nationwide

class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),

defined as follows:

       All persons who, during the Class Period, purchased the Company’s
       LGB Tokens and/or Lets Go Tokens and were subsequently damaged
       thereby.
       133. The Class Period is defined as the period between November 4, 2021,

and March 15, 2022.73




70     See Nathan Reiff, Cryptocurrency Burning, I NVESTOPEDIA, Jan. 24, 2022, https://www.
investopedia.com/tech/cryptocurrency-burning-can-it-manage-inflation.
71     Id.
72      See Brady Dale, Crypto Startups Are Destroying Millions of Coins – And Investors Love
It, COINDESK, Aug. 23, 2018, https://www.coindesk.com/markets/2018/08/23/crypto-startups-are-
destroying-millions-of-coins-and-investors-love-it.
73    Plaintiff reserves the right to expand or amend the Class Period based on discovery
produced in this matter.

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      134. Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,

agents, employees, officers and directors; (c) Plaintiff’s counsel and Defendants’

counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member

of the judge’s immediate family. Plaintiff reserves the right to modify, change, or

expand the various class definitions set forth above based on discovery and further

investigation.

      135. Numerosity: Upon information and belief, the Class is so numerous

that joinder of all members is impracticable. While the exact number and identity

of individual members of the Class is unknown currently, such information being in

the sole possession of the Company and/or third parties and obtainable by Plaintiff

only through the discovery process, Plaintiff believes, and on that basis alleges, that

the Class consists of at least thousands of people. The number of Class members

can be determined based on the Company’s and other third party’s records.

      136. Commonality: Common questions of law and fact exist as to all

members of each Class. These questions predominate over questions affecting

individual Class members. These common legal and factual questions include, but

are not limited to:

             a.       whether Defendants improperly and misleadingly marketed LGB

Tokens;

             b.       whether Defendants’ conduct violates the state consumer

protection statutes asserted herein;


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             c.     whether Promoter Defendants aided and abetted violations of the

state consumer protection statutes asserted herein;

             d.     whether Executive Defendants conspired to artificially inflate the

price to the LGB Tokens and then sell their LGB Tokens to unsuspecting investors;

             e.     whether Defendants have been unjustly and wrongfully enriched

as a result of their conduct;

             f.     whether the proceeds that the Defendants obtained as a result of

the sale of LGB Tokens rightfully belongs to Plaintiff and Class members;

             g.     whether Defendants should be required to return money they

received as a result of the sale of LGB Tokens to Plaintiff and Class members;

             h.     whether the Executive Defendants breached the implied

covenant of good faith and fair dealing; and

             i.     whether Plaintiff and Class members have suffered damages,

and, if so, the nature and extent of those damages.

      137. Typicality: Plaintiff has the same interest in this matter as all Class

members, and Plaintiff’s claims arise out of the same set of facts and conduct as the

claims of all Class members. Plaintiff’s and Class members’ claims all arise out of

the Company’s uniform misrepresentations, omissions, and unlawful, unfair, and

deceptive acts and practices related to the sale of LGB Tokens.

      138. Adequacy: Plaintiff has no interest that conflicts with the interests of

the Class and is committed to pursuing this action vigorously. Plaintiff has retained


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counsel competent and experienced in complex consumer class action litigation.

Accordingly, Plaintiff and his counsel will fairly and adequately protect the interests

of the Class.

      139. Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiff and members of the Class.

The injury suffered by each individual Class member is relatively small compared

to the burden and expense of individual prosecution of the complex and extensive

litigation necessitated by the Company’s conduct. It would be virtually impossible

for individual Class members to effectively redress the wrongs done to t hem. Even

if Class members could afford individualized litigation, the court system could not.

Individualized litigation would increase delay and expense to all parties, and to the

court system, because of the complex legal and factual issues of this case.

Individualized rulings and judgments could result in inconsistent relief for similarly

situated individuals. By contrast, the class action device presents far fewer

management difficulties, and provides the benefits of single adjudication, economy

of scale, and comprehensive supervision by a single court.

      140. Defendants have acted or refused to act on grounds generally applicable

to the Class, thereby making appropriate final injunctive relief and corresponding

declaratory relief with respect to the Class as a whole.




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             FLORIDA LAW APPLIES TO THE ENTIRE CLASS

      141. Florida’s substantive laws apply to every member of the Class,

regardless of where in the United States the Class members reside.

      142. Florida’s substantive laws may be constitutionally applied to the claims

of Plaintiff and the Class under the Due Process Clause, 14th Amend. §1, and the

Full Faith and Credit Clause, Art. IV §1 of the U.S. Constitution. Florida has

significant contact, or significant aggregation of contacts, to the claims asserted by

Plaintiff and all Class members, thereby creating state interests that ensure that the

choice of Florida state law is not arbitrary or unfair.

      143. The Executive Defendants primarily reside in, and upon information

and belief, operate the Company’s headquarters and principal place of business

located in Florida. The decision of the Executive Defendants and the Company to

reside in Florida and avail themselves of Florida’s laws, and to engage in the

challenged conduct from and emanating out of Florida, renders the application of

Florida law to the claims herein constitutionally permissible.

      144. Florida is also the state from which the Executive Defendants’ alleged

misconduct emanated. On information and belief, the decision-making regarding

the parameters of the Company marketing strategy and related sale of LGB Tokens

at the relaunched Lets Go Tokens, occurred in and emanated from Florida. As such,

the conduct complained of herein emanated from Florida. This conduct similarly

injured and affected Plaintiff and all other Class members.


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      145. The application of Florida laws to the Class is also appropriate under

Florida’s choice of law rules because Florida has significant contacts to the claims

of Plaintiff and the proposed Class, and Florida has a greater interest in applying its

laws here than any other interested state.

                          FIRST CAUSE OF ACTION
       Violation of Florida’s Deceptive and Unfair Trade Practices Act,
                    Fla. Stat. §501.201, et seq. (“FDUTPA”)
                            (Against All Defendants)
      146. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      147. Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat.

§501.201, et seq., is to be liberally construed to protect the consuming public, such

as Plaintiff and Class members in this case, from those who engage in unfair methods

of competition, or unconscionable, deceptive or unfair acts or practices in the

conduct of any trade or commerce.

      148. Plaintiff and Class members are “consumers” within the meaning of

Fla. Stat. §501.203(7).

      149. By soliciting investor funds in the manner in which they did,

Defendants engaged in “trade and commerce” within the meaning of Fla. Stat.

§501.203(8).

      150. “FDUTPA applies to non-Florida residents if the offending conduct

took place predominantly or entirely in Florida.” Karhu v. Vital Pharms., Inc., 13-

60768-CIV, 2013 WL 4047016, at *10 (S.D. Fla. Aug. 9, 2013).

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      151. While the FDUTPA does not define “deceptive” and “unfair,” it

incorporates by reference the Federal Trade Commission’s interpretations of these

terms. The FTC has found that a “deceptive act or practice” encompasses “a

representation, omission or practice that is likely to mislead the consumer acting

reasonably in the circumstances, to the consumer’s detriment.”

      152. The federal courts have defined a “deceptive trade practice” as any act

or practice that has the tendency or capacity to deceive consumers and have defined

an “unfair trade practice” as any act or practice that offends public policy and is

immoral, unethical, oppressive, unscrupulous, or substantially injurious to

consumers.

      153. Defendants’ acts and omissions constitute both deceptive and unfair

trade practices because the false representations and omissions made by Defendants

have a tendency or capacity to deceive consumers, such as Plaintiff and Class

members, into investing in the Company’s falsely touted business and are immoral,

unethical, oppressive, unscrupulous, or substantially injurious to consumers. Those

acts and omissions include, among other things:

             (a)   knowingly and intentionally concealing the Executive

Defendants’ specific roles and ownership interests in the Company; and

             (b)   knowingly and intentionally using and/or failing to disclose the

use of the Promotor Defendants to “instill trust” in uninformed investors to promote

the financial benefits of a highly speculative and risky investment in LGB Tokens,


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in an effort to manipulate and artificially inflate the price and trading volume of the

LGB Tokens and allow Defendants to sell their LGB Tokens at those inflated prices.

       154. As a direct and proximate result of Defendants’ unlawful, unfair, and

deceptive trade practices, Plaintiff was deceived into retaining functionally

worthless cryptocurrencies and/or investing their cryptocurrency and/or fiat

currency with a Company that functioned solely as an engine of fraud.

       155. Further, the Executive Defendants’ activities with the Promoter

Defendants caused Plaintiff and Class members to purchase and/or hold the LGB

Tokens when they otherwise would not have done so. As a result of Defendants’

false representations and omissions, Plaintiff and Class members have been

damaged by, among other things losing the true value of their invested

cryptocurrency. Plaintiff has also been damaged in other and further ways subject

to proof at trial.

       156. The materially false statements and omissions as described above, and

the fact that this was a misleading investment, were unfair, unconscionable, and

deceptive practices perpetrated on Plaintiff which would have likely deceived a

reasonable person under the circumstances.

       157. Defendants were on notice at all relevant times that the false

representations of material facts described above were being communicated to

prospective investors such as Plaintiff.




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      158. Therefore, Defendants engaged in unfair and deceptive trade practices

in violation of Fla. Stat. §501.201, et seq.

      159. Moreover, Plaintiff seeks to enjoin further unlawful, unfair, and/or

fraudulent acts or practices by the Company, to obtain restitution and disgorgement

of all monies generated as a result of such practices, and for all other relief allowed

under Fla. Stat. §501.201, et seq.

      160. Pursuant to Fla. Stat. §§501.211(1) and 501.2105, Plaintiff is entitled

to recover from Defendants the reasonable amount of attorneys’ fees Plaintiff has

had to incur in representing his interests in this matter.

                         SECOND CAUSE OF ACTION
                              Aiding and Abetting
                             Florida Common Law
                         (Against Promoter Defendants)
      161. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      162. Under Florida law, a cause of action for aiding and abetting requires

“(1) an underlying violation on the part of the primary wrongdoer; (2) knowledge of

the underlying violation by alleged aider and abetter [sic]; and (3) the rendering of

substantial assistance in committing the wrongdoing by the alleged aider and

abettor.” Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1238, 1244 (M.D. Fla.

2013).




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      163. The Executive Defendants employed a marketing strategy for the LGB

Tokens that was unlawful, deceitful, fraudulent, and/or violated the terms of the

Florida state statutes and/or federal statutes described in this Complaint.

      164. The Promoter Defendants have previous knowledge and experience

with making promotional statements, and, as such, knew that the marketing strategy

employed by the Executive Defendants for the LGB Tokens was unlawful, deceitful,

fraudulent, and/or violated the terms of the Florida state statutes and /or federal

statutes described in this Complaint.

      165. By promoting the LGB Tokens on their social media platforms and

through their reported conduct, the Promotor Defendants provided assistance that

was a substantial factor causing the LGB Tokens price to both surge and do so long

enough to allow all Defendants to sell their LGB Tokens for huge profits at the

expense of their followers and investors.

      166. Without the help of the Promoter Defendants’ activities, the Executive

Defendants would have been unable to use the misleading marketing strategy

devised by the Company, and Defendants would not have been able to commit the

violations of Florida state consumer protection statutes alleged herein.

      167. As a direct and proximate result of Promotor Defendants’ unlawful,

unfair, and deceptive practices, Plaintiff and Class members suffered damages. The

Executive Defendants’ activities with the Promoter Defendants caused Plaintiff and




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Class members to purchase and/or hold the LGB Tokens when they otherwise would

not have done so.

      168. Plaintiff and Class members seek to enjoin further unlawful, unfair,

and/or fraudulent acts or practices by the Company, to obtain monetary damages,

restitution and disgorgement of all monies generated as a result of such practices,

and for all other relief allowed under Florida law.

                          THIRD CAUSE OF ACTION
                          Unjust Enrichment/Restitution
                    (Florida Common Law, In the Alternative)
                             (Against All Defendants)
      169. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      170. Plaintiff and Class members conferred a monetary benefit on

Defendants by raising the price and trading volume of the LGB Tokens, which

allowed Defendants to sell their LGB Tokens to Plaintiff and Class members at

inappropriately and artificially inflated prices.

      171. Defendants received a financial benefit from the sale of their LGB

Tokens at inflated prices and are in possession of this monetary value that was

intended to be used for the benefit of, and rightfully belongs to, Plaintiff and

members of the Class.

      172. Plaintiff and Class members seeks restitution in the form of the

monetary value of the difference between the purchase price of the LGB Tokens and

the price those LGB Tokens sold for.

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                        FOURTH CAUSE OF ACTION
               Violation of Section 12 of the 1933 Securities Act
             (Against the Company and the Executive Defendants)
      173. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      174. Section 12(a)(1) of 15 U.S.C. §§77l(a)(1) (the “Securities Act”)

provides a private cause of action against any person who offers or sells a security

in violation of Section 5 of 15 U.S.C. §§77e.

      175. LGB Tokens are securities because they are investment contracts

subject to federal securities laws, including the registration requirements

promulgated thereunder. Plaintiff invested money into the common enterprise of

LGB Tokens with the expectation of profits to come solely from the efforts of others.

      176. No registration statements have been filed with the U.S. Securities and

Exchange commission and there is no effective registration statement covering the

LGB Tokens.

      177. The Company and the Executive Defendants, by using electronic means

to offer LGB Tokens for sale across the United States and engaging in the conduct

described above, “directly or indirectly made use of means or instruments of

transportation or communication in interstate commerce to offer to sell or to actually

sell securities, or to carry or cause such securities to be carried through in interstate

commerce for the purpose of sale or for delivery after sale.” Hodges v. Harrison,

372 F. Supp. 3d 1342, 1348 (S.D. Fla. 2019).


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      178. The Company and the Executive Defendants are “sellers” within the

meaning of the Securities Act because they or their agents solicited Plaintiff’s

investments in LGB Tokens.

      179. The funds Plaintiff and Class members paid to purchase LGB Tokens

were pooled by the Defendants to secure a profit for themselves and the investors.

As a result, the investors, including Plaintiff and Class members, shared in the risks

and benefits of the investment.

      180. Plaintiff and Class members relied on, and are dependent upon, the

expertise and efforts of the Company and the Executive Defendants for their

investment returns.

      181. Plaintiff and Class members expected that they would receive profits

from their investments in the Company and the Executive Defendants’ efforts.

      182. By reason of the foregoing, the Company and the Executive Defendants

participated in the offer and sale of unregistered securities in violation of the

Securities Act.

      183. As a direct and proximate result of the Company’s and the Executive

Defendants’ unregistered sale of securities, Plaintiff and Class members suffered

damages in connection with his respective purchases of LGB Tokens, and the

Company and the Executive Defendants are liable to Plaintiff and Class members

for rescission and/or compensatory damages.




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                          FIFTH CAUSE OF ACTION
               Violation of Section 15(a) of the 1933 Securities Act
                         (Against Defendant Koutoulas)
      184. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      185. Under Section 15 of 15 U.S.C. §77o, Koutoulas is subject to liability

because of his high-level position with the Company and his influence over the LGB

Tokens enterprise, which provided him the power to control or influence the

Company’s actions.       Koutoulas is responsible for much of the Company’s

operations, including the marketing, advertising, and promotions of the LGB Tokens

and the rebranding of the Lets Go Tokens. As a controlling person of the Company,

Koutoulas knew of, or recklessly disregarded, the alleged misrepresentations made

by the Company in connection with the ICO and LGB Tokens.

      186. By virtue of his position and participation in and/or awareness of the

Company’s operations, Koutoulas had the power to influence and control and did

influence and control, directly or indirectly, the decision making relating to the

Company’s solicitation of funds from investors, including the decision to engage in

the sale of unregistered securities.

      187. Accordingly, Koutoulas is a “controlling person” of the Company

pursuant to Section 15(a) of the Securities Act, 15 U.S.C. §77o.

      188. Plaintiff has suffered damages as a result of Koutoulas’ violation of

Section 15(a) of the Securities Act, 15 U.S.C. §77o.


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                         SIXTH CAUSE OF ACTION
  Violation of Florida’s Securities and Investor Protection Act (“FSIPA”) —
                   Unregistered Offer and Sale of Securities
                         Fla. Stat. §§517.07, 517.211(1)
            (Against the Company and the Executive Defendants)
      189. Plaintiff restates and realleges all preceding allegations above as if fully

set forth herein.

      190. The Company’s ICO called for an investment of money, bitcoin, Ether,

and other assets of value transferred by Plaintiff to Defendants in exchange for the

non-functional LGB Tokens issued by Defendants.

      191. The funds Plaintiff and Class members paid to purchase LGB Tokens

were pooled by the Defendants to secure a profit for themselves and the investors.

As a result, the investors, including Plaintiff and Class members, shared in the risks

and benefits of the investment.

      192. Plaintiff and Class members relied upon, and were dependent upon, the

expertise and efforts of Defendants for their investment returns.

      193. Plaintiff and Class members expected that they would receive profits

from their investments in Defendants’ efforts.

      194. LGB Tokens constitute investment contracts under the definition of

“security,” and are therefore subject to the Florida Blue Sky Laws, including the

registration requirements of Fla. Stat. §517.07.




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      195. The Company and the Executive Defendants have not filed any

registration statements with the Florida Office of Financial Regulation or have been

in effect with respect to any of the offerings alleged herein.

      196. Similarly, no exemption from registration exists with respect to the

Company’s ICO.

      197. Despite neither registering the offerings nor obtaining an exemption

from registration, the Company and the Executive Defendants sold Plaintiff and

Class members LGB Tokens in connection with the Company’s ICO and continued

to sell LGB Tokens and Lets Go Tokens thereafter.

      198. As a result of the Company’s and the Executive Defendants’ sale of

these unregistered securities, Plaintiff and Class members suffered damages in

connection with their respective purchases of LGB Tokens, and the Company and

the Executive Defendants are jointly and severally liable to Plaintiff and Class

members for rescission and/or compensatory damages.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually, and on behalf of all others similarly

situated, respectfully requests that this Court:

      A.     Determine that the claims alleged herein may be maintained as a class

action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order

certifying one or more of the Classes defined above;




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      B.     Appoint Plaintiff as representative of the Class and his counsel as Class

counsel;

      C.     Award all actual, general, special, incidental, statutory, punitive, and

consequential damages and restitution to which Plaintiff and Class members are

entitled;

      D.     Award post-judgment interest on such monetary relief;

      E.     Grant appropriate injunctive and/or declaratory relief;

      F.     Award reasonable attorneys’ fees and costs; and

      G.     Grant such further relief that this Court deems appropriate.

                                 JURY DEMAND

      Plaintiff, individually and on behalf of the putative Class, demands a trial by

jury on all issues so triable.

DATED: April 1, 2022             /s/ Robin Horton Silverman

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